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6                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
7
      UNITED STATES OF AMERICA,
8                                              NO. CR-05-2075-EFS-3
           Plaintiff/Respondent,               (NO. CV-09-3105-EFS)
9
                 v.
10                                             ORDER GRANTING MR. RIVERA’S
      RIGOBERTO BAEZ RIVERA (3),               MOTION FOR EXCESS PAGES BUT
11                                             DENYING MOTION UNDER 28 U.S.C.
           Defendant/Petitioner.               § 2255 TO VACATE SENTENCE
12

13

14        BEFORE THE COURT are Petitioner Rigoberto Baez Rivera’s Motion under

15   28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person

16   in Federal Custody (Ct. Rec. 1728), Motion to File Excess Pages (Ct. Rec.

17   1724), and Motion to Proceed In Forma Pauperis (Ct. Rec. 1726).                     Mr.

18   Rivera challenges the leader/organizer role-in-the-offense sentencing

19   enhancement by arguing that the Government breached the plea agreement

20   by seeking the enhancement, the Court failed to support the enhancement

21   with specific findings, and defense counsel failed to object to and

22   appeal the application of the enhancement.               Mr. Rivera also argues that

23   he was prejudiced by defense counsels’ failure to present a staleness

24   challenge to the affidavits submitted in support of the wiretap search

25   warrants.

26


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1    A.   Background

2         On March 7, 2006, Mr. Rivera pled guilty to conspiracy to distribute

3    more than 500 grams of a mixture or substance containing a detectible

4    amount of methamphetamine in violation of 21 U.S.C. § 846.                      (Ct. Rec.

5    1092.)    The Court sentenced Mr. Rivera on August 21, 2006, to 168 months

6    imprisonment and 5 years supervised release.                      (Ct. Rec. 1429.) Mr.

7    Rivera’s direct appeal was denied (Ct. Rec. 1697).

8    B.   Preliminary Motions
9         The Court finds good cause to grant Mr. Rivera’s Motion to File

10   Excess Pages (Ct. Rec. 1724).            The Court denies as moot Mr. Rivera’s

11   Motion to Proceed In Forma Pauperis (Ct. Rec. 1726) because he was

12   granted    in   forma    pauperis     status       during   the    underlying    criminal

13   proceeding.

14   C.   Review Standard

15        Pursuant     to    Rule   4(b)   of     the    Rules    Governing    Section     2255

16   Proceedings for the United States District Courts, the Court must examine

17   a § 2255 motion and the record to determine whether summary dismissal is

18   warranted.      Rule 4(b), 28 U.S.C. foll. § 2255.             “If it plainly appears

19   from the face of the motion and any annexed exhibits and the prior

20   proceedings in the case that the movant is not entitled to relief in the

21   district court, the judge shall make an order for its summary dismissal.”

22   Id.; see also Baumann v. United States, 692 F.2d 565, 571 (9th Cir.

23   1982).

24   C.   Analysis

25        Viewing the record under this standard, the Court denies Mr. Rivera

26   habeas relief. Mr. Rivera is plainly not entitled to relief on his first


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1    and   second   claims         relating      to     the   leader/organizer       sentencing

2    enhancement.   First, the parties did not agree that the Government could

3    not seek a role-in-the-offense sentencing enhancement.                    Rather, the Plea

4    Agreement stated, “The Defendant understands that the government will be

5    recommending a three level enhancement as a leader and organizer of a

6    criminal activity that involved five or more participants, pursuant to

7    USSG § 3B1.1(a).”     (Ct. Rec. 1092 (emphasis added.))                 This provision is

8    ambiguous   because      a    three-level        enhancement    applies    to   a    manager/
9    supervisor whereas a leader/organizer receives a four-level enhancement.

10   Notwithstanding this ambiguity, it is clear that the Government was free

11   to seek an “aggravating” role-in-the-offense enhancement. Therefore, the

12   Government did not breach the Plea Agreement by presenting evidence at

13   the sentencing hearing to support an “aggravating role” sentencing

14   enhancement.    It was within this Court’s sentencing discretion, after

15   considering the presented evidence, to determine what aggravating-role

16   enhancement to apply; the Court was not bound by the Plea Agreement.

17   Second,     Defendant         already       challenged        the   Court’s     four-level

18   organizer/leader sentencing enhancement on direct appeal.                           The Ninth

19   Circuit affirmed the district court’s application of this enhancement,

20   finding sufficient facts to support the enhancement. Lastly, because Mr.

21   Rivera’s    “aggravating         role”      sentencing-enhancement          challenge      is

22   meritless, he cannot now argue on collateral review that counsel provided

23   ineffective assistance in connection with this issue.                   See United States

24   v. Redd, 225 F.3d 664, 701 (9th Cir. 2000).

25         Mr. Rivera’s final habeas claim is that counsel provided ineffective

26   assistance by failing to argue that the information contained within


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1    Agent John Schrock’s affidavits submitted to obtain wiretap warrants was

2    stale.1   An affidavit contains stale information if it fails to contain

3    facts “‘so closely related to the time of the issue of the warrant as to

4    justify a finding of probable cause at that time.’” Durham v. United

5    States, 403 F.2d 190, 193 (9th Cir. 1968).                Agent Schrock signed an

6    affidavit on March 14, 2005, to support the issuance of a wiretap

7    application on two cell phones, one of which was subscribed to and

8    operated by Rigoberto Rivera (Ct. Rec. 710-4 p. 52); a district court
9    judge authorized wiretapping these two telephones later that day.2                 This

10   affidavit details, in part, a) 1996 and 1998 traffic stops of Mr.

11   Rivera’s vehicle during which a significant amount of cash, a drug

12   ledger, and/or drugs were found and b) searches conducted in August 1999

13   and October 2002 of a co-Defendant’s residence during which drugs, a

14   significant amount of cash, and firearms were seized.              Mr. Rivera argues

15   this information is too old to consider in a 2005 search warrant

16
           1
               The legal authority for Mr. Rivera’s stale-affidavit claim is
17

18   found in co-Defendant Gilberto Baez Rivera’s habeas memorandum (Ct. Rec.

19   1736).
          2
20             In April 2005, Agent Schrock sought and obtained wiretaps for

21   three other telephones, two of which were subscribed to and used by

22   Rigoberto Rivera.        Because the information contained in these two
23   subsequent affidavits was substantially similar to the March 14, 2005
24   affidavit, absent the recently-obtained investigative information, the
25
     Court analyzes Mr. Rivera’s staleness argument only as it relates to the
26
     initial March 14, 2005 affidavit.

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1    application    and    highlights    that     neither        drug   possession   nor    drug

2    trafficking convictions were obtained based on this evidence.

3         The Affidavit, however, discusses at great length the results of the

4    federal investigation that began in August 2003 of the Rivera drug

5    trafficking    organization.        This    federal         investigation   included    pen

6    registers, confidential sources, sources of information, arranged drug

7    purchases, physical surveillance, use of an undercover agent, and trash

8    runs.       Agent    Schrock’s     affidavit      details       the   results    of    this
9    investigation.       In pertinent part, the affidavit includes the following

10   information about Mr. Rivera:

11        •      “In July 2003, [a confidential source] provided information
                 regarding the RIVERA drug trafficking organization . . . . [The
12               confidential source] identified SABINO as “the brains” behind
                 the organization, that GILBERTO was “in-charge” and that
13               RIGOBERTO was a cocaine user. [The confidential source] stated
                 that on one occasion between one and two years prior to July
14               2003, [the confidential source], GILBERTO and RIGOBERTO went
                 into a backroom at the Besame Mucho Bar and Grill where they
15               showed [the confidential source] a kilogram of cocaine. [The
                 confidential source] stated that the RIVERA’s had additional
16               cocaine to distribute.” (Ct. Rec. 710-4: Affidavit p. 13.)

17        •      “[T]he sequence of events [since November 2004] pertaining to
                 the most recent of those four controlled buys, and an analysis
18               of pen register information of TARGET TELEPHONE 1 during the
                 time frame of that transaction, reveals that RIGOBERTO was
19               involved in the cocaine transaction and that he utilizes TARGET
                 TELEPHONE 2 to coordinate his narcotics-related activities.”
20               Id. p. 9.

21        •      On January 27, 2005, Rigoberto Rivera was observed conducting
                 “‘heat check’ counter-surveillance.” Id. pp. 24 & 25.
22
          •      On January 27, 2005, “ . . . GERARDO contacted RIGOBERTO at
23               RIGOBERTO’s TARGET TELEPHONE 2 to further coordinate the
                 [cocaine] transaction. . . . [T]he cocaine was likely being
24               stored at GILBERTO’s residence and that GERARDO, GILBERTO, and
                 RIGOBERTO met at GILBERTO’s residence to further coordinate and
25               process the transaction.” Id. p. 25.

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1    After reviewing the affidavit in its totality, the Court finds Mr. Rivera

2    cannot succeed on a staleness argument.           Because the Affidavit detailed

3    “the existence of a widespread, firmly entrenched, and ongoing narcotics

4    operation” and identified Mr. Rivera’s role in such, the Court concludes

5    that the record conclusively shows that Mr. Rivera will not succeed on

6    his Fourth Amendment staleness argument.          Likewise, the Court determines

7    that defense counsels’ decision to not present a staleness argument

8    either pretrial or on appeal was objectively reasonable.              See Strickland
9    v. Washington, 466 U.S. 668, 687-88 (1984) (“When a convicted defendant

10   complains of ineffectiveness of counsel’s assistance, the defendant must

11   show that counsel’s representation fell below an objective standard of

12   reasonableness.”)

13         For the above-given reasons, IT IS HEREBY ORDERED:

14         1.    Mr. Rivera’s Motion to File Excess Pages (Ct. Rec. 1724) is

15   GRANTED.

16         2.    Mr. Rivera’s Motion to Proceed In Forma Pauperis (Ct. Rec.

17   1726) is DENIED AS MOOT.

18         3.    Mr. Rivera’s Motion under 28 U.S.C. § 2255 to Vacate, Set

19   Aside, or Correct Sentence by a Person in Federal Custody (Ct. Rec. 1728)

20   is DENIED.

21         4.    The Court DECLINES to issue a certificate of appealability.

22         5.    The related civil case file is to be CLOSED.

23         IT IS SO ORDERED.     The District Court Executive is directed to

24         A.   Enter this Order; and

25   ///

26   ///


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1          B.    Provide a copy of this Order to counsel and Mr. Rivera at the

2    following address:

3                        Rigoberto Baez Rivera
                         Reg. # 16254-085
4                        F.C.I. Sheridan
                         P. O. Box 5000
5                        Sheridan, OR 97378.

6          DATED this         1st        day of March 2010.

7

8                                      S/ Edward F. Shea
                                           EDWARD F. SHEA
9                                   United States District Judge

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